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UNITED STATES DISTR|CT COURT 1 t 232
WESTERN DlSTR|CT OF TENNESSEE mm BY “" D'C.
MEMPH|S D|VlS|ON 05 JU'L _-' AH 8; 56
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UN|TED STATES OF AMERICA

l it

FREDD|E L. PETERS
Kemper Durand, CJA
Defense Attorney
40 S. Main Street, Suite 2900
Memphis, TN 38103

 

**AMENDED** JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1-22 of the indictment on August 16, 2002.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section N_MQFM Offense Number(sl
Md_@
18 U.S.C. §§ 287 and 2 Fa|se Ciaims & Aiding and 02/27/1997 1, 4, 7, 10l 13,
Abetting 16, 19 & 21
42 U.S.C. §§ 408(a)(8) Fraudu|ent Use ofa Social 02/27/1997 2, 3, 5, 6, 8, 9,
and 2 Securiiy Number & Aiding and 11, 12,14, 15,
Abetting 17, 18, 20 & 22

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 7/24/1960 June 30, 2005
Deft’s U.S. |V|arsha| No.: 18081-076

Defendant’s l\/laillng Address:

Village Square Apartments '\ c
Memphis, TN 38114 L%LL\
J. oANiEL BREEN
U lTED STATES DlSTR|CT JUDGE …
Th§S document entered on the docket shea

ompllance \
with auie 55 and/or 32(b) mch on jf_"'l;Q§_/_ July § , 2005 /\@
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|MPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of **57 Months**. Said custody is the sum of 50
months as to counts 1, 4, 7,10, 13,16,19 & 21 and 7 months as to counts 2,3,5,6,8,9,11,
12, 14, 15, 17, 18, 20 & 22, ordered to run consecutively

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States i\/larsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |Vlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a flrearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controiled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation ocher;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer',

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Seek and maintain full time employment

3) Cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$2,200.00 $4,879.00

The Speciai Assessment shall be due immediatelyl
F|NE

No Fine is Ordered.

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REST|TUTION

Restitution in the amount of $4,879.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed beiow.

Priority
Totai Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment

internal Revenue Service, $4,879.00 $4,879.00

if the defendant makes a partial payment1 each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

    
 

UNI…ED`TAT DISTRIC COURT -WESTER DSTRIC oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 133 in
case 2:02-CR-20027 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

Memphis7 TN 38103--552

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

